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          7                                         UNITED STATES DISTRICT COURT

          8                                       CENTRAL DISTRICT OF CALIFORNIA

          9        DOUGLAS KIRKLAND,                                Case No.: 2:20-cv-01374-CBM-MAA
         10                    Plaintiff,                           JUDGE CONSUELO B. MARSHALL
    0-.
    ,-.l 11        v.                                               MEMORANDUM OF POINTS AND
    ,-.l
l:: N�                                                              AUTHORITIES IN SUPPORT OF
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C/)r-
         12
U                  NAUSICAA RAMPONY & THE COO                       MOTION FOR LEAVE OF COURT TO
::E�     13
                   HEART LLC, KFIR MOYAL ART LLC FDB                WITHDRAW AS COUNSEL OF
                   KFIR MOYAL ART GALLERY INC., KF                  RECORD FOR DEFENDANTS
�� 14
                   MOYAL ART GALLERY INC., AND KF
��                 MOYAL                                            Date: May 4, 2021
                                                                    Time: 10:00 a.m.

B
   15
�                              Defendant.                           Courtroom: 8B
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                   Douglas Kirkland v. Nausicaa Rampony et. al
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                   2:20-cv-01374-CBM-MAA

                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR LEAVE OF COURT
                                TO WITIIDRAW AS COUNSEL OF RECORD FOR DEFENDANTS
                                                                 Page 1 of4
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Case 2:20-cv-01374-CBM-MAA Document 80-2 Filed 03/25/21 Page 3 of 4 Page ID #:536
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